Case 2:07-cr-00081-SAB   ECF No. 388   filed 12/18/07   PageID.786 Page 1 of 6
Case 2:07-cr-00081-SAB   ECF No. 388   filed 12/18/07   PageID.787 Page 2 of 6
Case 2:07-cr-00081-SAB   ECF No. 388   filed 12/18/07   PageID.788 Page 3 of 6
Case 2:07-cr-00081-SAB   ECF No. 388   filed 12/18/07   PageID.789 Page 4 of 6
Case 2:07-cr-00081-SAB   ECF No. 388   filed 12/18/07   PageID.790 Page 5 of 6
Case 2:07-cr-00081-SAB   ECF No. 388   filed 12/18/07   PageID.791 Page 6 of 6
